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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

Relativity Display LLC,                            CASE NO. 2:18-cv-00214-JRG

                 Plaintiff

        v.

Staples, Inc.,

                       Defendant.


                                         ORDER

        Before the Court is Plaintiff Relativity Display LLC and Defendant Staples, Inc.’s

Joint Motion to Stay All Deadlines and Notice of Settlement (Dkt. No. 12).          Having

considered the Joint Motion, the Court finds that the Motion should be and hereby is

GRANTED. It is ORDERED that all unreached case deadlines applicable between Plaintiff

Relativity Display LLC and Defendant Staples, Inc. are stayed for thirty (30) days from the

date of this Order, in order for the Parties to finalize the settlement agreement and submit

appropriate dismissal papers.

        So Ordered this
        Jul 30, 2018
